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1                                                                            JUDGE FRANKLIN D. BURGESS
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                                            UNITED STATES DISTRICT COURT
8                                          WESTERN DISTRICT OF WASHINGTON
                                                     AT TACOMA
9
     UNITED STATES OF AMERICA,                                               )
10                                                                           )     CASE NO. CR06-5668FDB
                                      Plaintiff,                             )
11                                                                           )
                           v.                                                )     ORDER CONTINUING TRIAL
12                                                                           )     DATE AND PRETRIAL
     KING YIN PETER FONG,                                                    )     MOTIONS DEADLINE
13   WING HO JIMMY HO,                                                       )
     YING WAI WONG,                                                          )
14   ANDY CHEUNG,                                                            )
                                                                             )
15                                    Defendants.                            )
                                                                             )
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                This Court having considered the stipulation of the parties hereby GRANTS the
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     parties' request for a continuance of the trial date and pre-trial motions cutoff date.
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     Defendants King Yin Peter Fong, Wing Ho Jimmy Ho, Ying Wai Wong, and Ka Wai Andy
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     Cheung, each indicated his knowing, voluntary, and intelligent waiver of his right to a speedy
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     trial by executing a written waiver of his right to a speedy trial through March 31, 2007. The
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     parties also have articulated their desire to continue to engage in plea discussions.
22
                THIS COURT FINDS, pursuant to Title 18, United States Code,
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     Section 3161(h)(8)(B)(I) that failure to grant such a continuance in the proceeding would be
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     likely to make a continuation of such proceeding impossible, or result in a miscarriage of
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     justice.
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                THIS COURT FINDS, pursuant to Title 18, United States Code, Section
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     3161(h)(8)(B)(iv), that failure to grant the continuance in this case, which, taken as a whole,
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     is not so unusual or so complex as to fall within clause (ii), would deny counsel for the


     ORDER — 1                                                                                       UNITED STATES ATTORNEY
                                                                                                      700 Stewart Street, Suite 5220
     United States v. King Yin Peter Fong, et al., Case No. CR 06-5668 FDB
                                                                                                     Seattle, Washington 98101-1271
                                                                                                              (206) 553-7970
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1    defendants the reasonable time necessary for effective preparation, due to counsels’ need for
2    more time to review the evidence and consider possible defenses, taking into account the
3    exercise of due diligence.
4               THIS COURT FINDS, pursuant to Title 18, United States Code, Section 3161(h)(7),
5    that this is a reasonable period of delay in that the defendants are joined for trial and no
6    previous motion for continuance has been granted, and all defendants have requested more
7    time to prepare for trial, and defendants have either filed or will file waivers of speedy trial in
8    support of this motion.
9               THIS COURT FINDS, therefore, that pursuant to Title 18, United States Code,
10   Section 3161(h)(8)(A), the ends of justice will best be served by a continuance, and that they
11   outweigh the best interests of the public and the defendants in a speedy trial.
12              The parties' motion for continuance is GRANTED. Trial is reset for March 19, 2007.
13   The Pre-trial Motion cutoff date is reset for January 29, 2007 with any responses due on
14   February 8, 2007. The time from the current trial date of January 8, 2007, up to and including
15   the new trial date of March 19, 2007, shall be excludable under the Speedy Trial Act, Title 18,
16   United States Code, Section 3161(h)(8)(A).
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18              Dated this 14th day of December, 2006.




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                                                                        FRANKLIN D. BURGESS
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                                                                        UNITED STATES DISTRICT JUDGE
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     Presented by:
     s/ John J. Lulejian
25   JOHN J. LULEJIAN
     Assistant United States Attorney
26   United States Attorney's Office
27   700 Union Street, Suite 5220
     Seattle, Washington 98101-1270
28   Telephone: (206) 553-7970
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     E-mail: John.Lulejian@usdoj.gov

     ORDER — 2                                                                                       UNITED STATES ATTORNEY
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